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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                    CRIMINAL ACTION
v.                                          )
                                            )                    No. 09-20005-KHV
HECTOR EDUARDO GARCIA-                      )
GALLARDO,                                   )
                                            )
LUIS LOZANO-MIRANDA,                        )
                                            )
GUADALUPE RUIZ,                             )
aka “GUADALUPE REYES”                       )
aka “LUPE,”                                 )
                                            )
MARISELA RUIZ,                              )
                                            )
FRANCISCO JAVIER RUIZ-NAJERA,               )
                                            )
and                                         )
                                            )
VINCENT RAY MAREZ,                          )
                                            )
                         Defendants.        )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on the government’s Motion To Review Release Order

(Doc. #47) filed January 16, 2009 and Motion To Review Release Order (Doc. #117) filed February

3, 2009.

I.     Procedural Background

       On January 7, 2009, a grand jury indictment charged Luis Lozano-Miranda , Hector Eduardo

Garcia-Gallardo and three others with one count of conspiracy to distribute and possess with intent

to distribute 500 grams or more of a mixture and substance containing methamphetamine (Doc.

#29). On January 16, after a detention hearing, Magistrate Judge David J. Waxse ordered Garcia-
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Gallardo and Lozano-Miranda released on certain conditions pending trial. See Docs. #38, 39. On

January 28, 2009, the grand jury returned a superseding indictment against Garcia-Gallardo,

Lozano-Miranda, Guadalupe Ruiz, Francisco Ruiz-Najera, Marisela Ruiz, Vincent Marez and 19

others, on charges of conspiracy to distribute and possess with intent to distribute more than five

hundred grams of a mixture and substance containing methamphetamine, a controlled substance, in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii) and 846. The indictment alleged 15

substantive counts against various defendants. See Doc. #54. After a detention hearing, Magistrate

Judge Waxse overruled the government’s motion for detention as to certain defendants and ordered

Guadalupe Ruiz, Francisco Ruiz-Najera, Marisela Ruiz and Vincent Marez released on conditions.

See Docs. ##123, 124, 126, 127, 129, 130, 133, 134.

         On February 5, 2009, the Court held a hearing on the government’s motions to review the

release orders. For reasons stated below, the Court finds that defendants should be detained pending

trial.

II.      Standard Of Review

         The government may seek review of a magistrate judge’s order of release. See 18 U.S.C.

§ 3145(a)(1). The district court reviews de novo a magistrate judge’s order of release. See United

States v. Cisneros, 328 F.3d 610, 616 n.1 (10th Cir. 2003); United States v. Lutz, 207 F. Supp.2d

1247, 1251 (D. Kan. 2002). The district court must make its own de novo determination of the facts

and legal conclusion with no deference to the magistrate judge’s findings. See Lutz, 207 F. Supp.2d

at 1251. A de novo evidentiary hearing, however, is not required. See id. The district court may

either “start from scratch” and take relevant evidence or incorporate the record of the proceedings

conducted by the magistrate judge including the exhibits admitted. United States v. Torres, 929 F.2d


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291, 292 (7th Cir. 1991). The Federal Rules of Evidence do not apply to detention hearings. See

18 U.S.C. § 3142(f); Fed. R. Evid. 1101(d)(3). The Court may allow the parties to present

information by proffer or it may insist on direct testimony. See 18 U.S.C. § 3142(f).

III.   Standards For Detention

       Under the Bail Reform Act of 1984, the Court must order an accused’s pretrial release, with

or without conditions, unless it “finds that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e). In making this determination, the Court must take into account

the available information concerning –

       (1) The nature and circumstances of the offense charged, including whether the
       offense is a crime of violence . . . or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;
       (3) the history and characteristics of the person, including –
       (A) the person’s character, physical and mental condition, family ties, employment,
       financial resources, length of residence in the community, community ties, past
       conduct, history relating to drug or alcohol abuse, criminal history, and record
       concerning appearance at court proceedings; and
       (B) whether, at the time of the current offense or arrest, the person was on probation,
       on parole, or on other release pending trial, sentencing, appeal, or completion of
       sentence for an offense under Federal, State, or local law; and
       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release.

18 U.S.C. § 3142(g).

       The Bail Reform Act provides a rebuttable presumption of risk of flight or danger to the

community when a defendant is charged with an offense for which the Controlled Substances Act,

21 U.S.C. § 801 et seq., prescribes a maximum term of imprisonment of ten years or more. See 18

U.S.C. § 3142(e); see also United States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991) (upon

finding of probable cause that defendant committed federal drug offense carrying maximum prison

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term of ten years or more, rebuttable presumption that no conditions of release will assure

defendant’s appearance and safety of community). The indictment charges defendants with

conspiracy to distribute and possess with intent to distribute more than 500 grams of a mixture and

substance containing methamphetamine. The conspiracy count carries a minimum term of 10 years

and a maximum term of life imprisonment, thereby triggering the rebuttable presumption for

detention. See United States v. Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990) (grand jury

indictment provides probable cause required by the statute to trigger the presumption); see United

States v. Carr, No. 07-40034-JAR, 2007 WL 2253200, at *6 (D. Kan. July 31, 2007).

       Once the presumption arises, the burden of production shifts to defendant. Stricklin, 932

F.2d at 1354. Defendant’s burden of production is not heavy, but defendant must produce some

evidence.   Id.; United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (to rebut

presumption, defendant must come forward with credible evidence of something specific about

charged criminal conduct or individual circumstances that tends to show that what is true in general

is not true in the particular case). Even if defendant meets the burden of production, the presumption

remains a factor in determining whether to release or detain. Id. “Thus the mere production of

evidence does not completely rebut the presumption, and in making its ultimate determination, the

court may still consider the finding by Congress that drug offenders pose a special risk of flight and

dangerousness to society.” United States v. Holmes, Case No. 05-40066-01-SAC, 2007 WL

293907, at *2 (D. Kan. Jan. 29, 2007) (quoting United States v. Hare, 837 F.2d 796, 798-99 (5th Cir.

1989) (footnote omitted)). The burden of proof remains with the government to show that no

condition or combination of conditions would reasonably assure the accused’s presence in later

proceedings and/or the safety of other persons and the community. Lutz, 207 F. Supp.2d at 1251


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(burden of persuasion regarding risk of flight and danger to community always remains with

government). The government must prove dangerousness to any other person or the community by

clear and convincing evidence. Id. at 1252.

IV.    Analysis

       At the hearing on February 5, 2009, the government presented testimony by Drug

Enforcement Task Force Officer Justin Branner and Immigration and Customs Enforcement (“ICE”)

Agent Tim Ditter. The Court also admitted five exhibits, including transcripts of wiretap intercepts

conducted during a wide-ranging drug trafficking investigation. The Court has reviewed the

evidence, the pretrial services reports and the parties’ briefs. After considering the applicable

factors, the Court finds that the government’s motions for detention should be sustained.1

A.     Luis Lozano-Miranda

       1.      Nature And Circumstances Of The Offense

               As noted, the conspiracy count carries a minimum term of 10 years and a maximum

term of imprisonment of life, thereby triggering the rebuttable presumption for detention.

       2.      Weight Of The Evidence

               Officer Branner testified that on December 30, 2008, as part of an on-going drug

trafficking investigation, agents conducted surveillance of Baltazar Quiroz (a/k/a/ Hector Eduardo

Lozano-Miranda) and his wife, Araceli Lozano-Miranda. As the couple approached their residence

at 421 Brooklyn Avenue, agents noticed a purple mini-van with Nebraska plates following them

down an alley. Luis Lozano-Miranda then exited the 421 Brooklyn house and opened the detached



       1
               Pursuant to 18 U.S.C. § 3142(i), this memorandum and order constitutes the Court’s
written findings of fact and reasons for detention.

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garage door. The van pulled into the garage and Luis secured the door. Hector Eduardo Garcia-

Gallardo and Uriel Lopez-Montejano then entered the residence with Quiroz, Luis and Araceli.

       Shortly after the van arrived, Quiroz and Araceli drove away in Quiroz’s vehicle, a Nissan

Titan. Agents observed the couple purchasing food sealers and other plastic material at a nearby

store. The couple then returned to the house at 421 Brooklyn. Garcia-Gallardo and another

unidentified male then exited the residence and walked toward the detached garage. Garcia-Gallardo

looked around, as if to stand guard, while the other man entered the garage. After a few moments,

Garcia-Gallardo went inside the garage. Both individuals then left the garage and returned to the

residence. A few minutes later, Garcia-Gallardo, Uriel, Quiroz and Luis left the residence. Quiroz

went to his Nissan as Garcia-Gallardo, Uriel, and Luis re-entered the garage. Luis opened the garage

door and Uriel drove out in the van with Garcia-Gallardo as a passenger. The van followed Quiroz’s

Nissan until it reached I-29 northbound. At that point, Quiroz drove back toward his residence.

Shortly thereafter, law enforcement stopped Quiroz’s vehicle and searched it. They found

approximately 248 gross grams of crystal methamphetamine underneath Quiroz’s seat.

       Officers then stopped the van, and Uriel consented to a search. In the van, agents found

several false compartments which contained $95,820.00 in cash. Agents placed Uriel and Garcia-

Gallardo in a patrol vehicle and recorded them devising a “cover story.”

       After his arrest, Quiroz called a third party and told him to contact his wife and tell her to

“get everything out of the house.” Agents intercepted this phone call and responded to the house

at 421 Brooklyn. They found Luis Lozano-Miranda on the back porch next to a fire. Agent Branner

testified that the fire smelled like burned plastic and grease. Agents searched the residence and

found approximately six pounds of methamphetamine wrapped in plastic and coated in grease.


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Officers also found drugs in the detached garage.

       Luis Lozano-Miranda points out that the government has not produced direct evidence that

he participated in loading or unloading contraband while the van was in the garage. He also notes

that agents found no cash, drugs or weapons on his person, and that the wiretap calls do not

implicate him. Circumstantial evidence suggests that Lozano-Miranda assisted Quiroz, a significant

drug trafficker, with the transfer of money and drugs. On the whole, however, the Court finds that

the weight of the evidence does not strongly favor either detention or release.

       3.      History And Characteristics Of Defendant

               Lozano-Miranda is 21 years old and is in good physical health. He is a citizen of

Mexico. He moved to the Kansas City area from Mexico in 2004. Lozano-Miranda is in the United

States illegally, and ICE has lodged a detainer with the U.S. Marshals Service.

       Lozano-Miranda’s father resides in Mexico and his mother is deceased. He has eight sisters

and five brothers. Four of his sisters and one of his brothers live Kansas City, Kansas. One of his

sisters is a co-defendant in this case and is currently incarcerated. Two of his brothers are

incarcerated at CCA in Leavenworth, Kansas on an unrelated matter. Three of his sisters and one

of his brothers reside in Mexico.

       Lozano-Miranda and his wife were married in Mexico. They have two young children. In

December of 2005, they moved to Kansas City, Kansas. Lozano-Miranda went to Mexico with his

wife for seven months in 2008. They returned to Kansas City, Kansas in October of 2008. Since

then, they have lived with Lozano-Miranda’s sister, her three children and other relatives. If

released, Lozano-Miranda’s sister advises that he may reside with her.

       On September 30, 2008, in San Ysidro, California, ICE charged Lozano-Miranda with fraud,


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misuse of a visa, entry of an alien at an improper time or place and alien inadmissibility. He was

deported on expedited removals on September 30, 2008 and October 4, 2008 and voluntarily

returned to Mexico on October 5, 2008.2 ICE reports that Lozano-Miranda is now barred from the

United States for 20 years.

          While defendant’s status as a deportable alien does not alone mandate detention, it is a factor

which weighs heavily in the risk of flight analysis. See Chavez-Rivas, 536 F.Supp.2d 962, 964 n.

3 (E.D. Wis. 2008) (citations omitted). The government argues that Lozano-Miranda poses a flight

risk because he has an ICE detainer, he has strong ties to Mexico and he is facing a sentence of ten

years to life on the charges in this case. The Court finds that despite his family ties to Kansas City,

Kansas, defendant presents a significant risk of flight such that conditions of release could not

reasonably assure his presence at trial.

          4.     Danger To The Community

                 The evidence would likely support a finding that Lozano-Miranda is a danger to the

community. The Court need not decide this issue, however, because it has determined that no

condition or combination of conditions will reasonably assure that defendant will appear in this

matter.

          5.     Conclusion

                 Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will ensure that defendant will appear on the charges. The government has

carried its burden of proving that pretrial detention of Luis Lozano-Miranda is warranted.

B.        Hector Eduardo Garcia-Gallardo


          2
                 Previously, defendant had voluntarily returned to Mexico on July 25, 2006.

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       1.      Nature And Circumstances Of The Offense

               The conspiracy count carries a minimum term of 10 years and a maximum term of

imprisonment of life, thereby triggering the rebuttable presumption for detention.

       2.      Weight Of The Evidence

               As noted above, Officer Branner testified that on December 30, 2008, Garcia-Gallardo

entered the residence and garage at 421 Brooklyn. Branner testified that Garcia-Gallardo appeared

to keep a look-out on the garage as the money and drugs were presumably transferred in the garage.

Further, Garcia-Gallardo rode in the van which Uriel drove and in which officers found $95,820.00

in U.S. currency.

       Garcia-Gallardo asserts that the government has not produced direct evidence that he handled

or exerted physical control over illegal drugs or drug proceeds or that he was aware of the money

found in the van. The Court agrees that the government did not introduce evidence to establish that

Garcia-Gallardo knew that illegal drug trafficking activity was occurring in the garage when he was

standing outside of it. Further, there is no evidence that he knew of the money in the van. Finally,

the wiretap transcripts introduced into evidence do not implicate him. The Court finds that the

weight of the evidence factor weighs in favor of release.

       3.      History And Characteristics Of Defendant

               Garcia-Gallardo is 38. He was born in Mexico and moved to Las Vegas, Nevada at

the age of 18. He has lived in Las Vegas since then except for a time when he was deported in 1993.

He is in the United States illegally, and ICE has lodged a detainer with the U.S. Marshals Service.

He does not have any other reported criminal history.




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          Since 2001, Garcia-Gallardo has been in a relationship with Alma Mendoza, a Mexican

citizen, and they have two children, Hector, Jr., age 7, and Alex, age 7 months. He also has two

children from a former marriage to Lori Garcia, and those children live with their mother in Pirone,

Nevada. Garcia-Gallardo’s parents, two sisters and two brothers reside in Mexico.

          As noted, while a defendant’s status as a deportable alien alone does not mandate detention,

it is a factor which weighs heavily in the risk of flight analysis. See Chavez-Rivas, 536 F.Supp.2d

at 964. The government argues that defendant poses a risk of flight because he has an ICE detainer,

he has strong ties to Mexico and he is facing a sentence of ten years to life on the charges in this

case. The Court finds that despite his family ties to Las Vegas, Nevada, defendant presents a

significant risk of flight such that conditions of release could not reasonably assure his presence at

trial.3

          4.     Danger To The Community

                 The evidence which the government has presented as to Garcia-Gallardo’s

participation in the charged conspiracy, combined with his relative lack of a criminal history,

suggest that he may not be a danger to the community. The Court need not make this determination,

however, because it has determined that no condition or combination of conditions will reasonably

assure that he will appear in this matter.

          5.     Conclusion




          3
                Although Judge Waxse imposed a home confinement restriction and passive GPS
monitoring, the government convincingly argues that monitoring would not prevent defendant from
fleeing if he so chose.


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               Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will ensure Garcia-Gallardo’s presence at trial. The government has carried its

burden of proving that pretrial detention is warranted.

C.     Guadalupe Ruiz

       1.      Nature And Circumstances Of The Offense

               As noted, the conspiracy count carries a minimum term of 10 years and a maximum

term of imprisonment of life, thereby triggering the rebuttable presumption for detention.

       2.      Weight Of The Evidence

               During the investigation of the conspiracy charged in this case, the government

intercepted a number of drug-related calls in which Guadalupe Ruiz arranged drug transactions. On

October 31, 2008, police stopped the car which Guadalupe Ruiz was driving. Officers searched the

car and found four ounces of methamphetamine. The grand jury found probable cause that

Guadalupe Ruiz and her daughter, Marisela Ruiz, possessed the drugs with intent to distribute. On

January 28, 2009, officers executed a search warrant at the residence where Guadalupe lived with

her husband, Francisco Ruiz-Najera, their children and grandchildren. Officers seized detailed drug

ledgers in Marisela’s room, as well as a bulletproof vest. The weight of the evidence against

Guadalupe weighs in favor of detention.

       3.      History And Characteristics Of Defendant

               Guadalupe Ruiz is 42 years old. She is a citizen of the United States and has lived

in Kansas City, Kansas all of her life. She has six children from her marriage to co-defendant

Francisco Ruiz Najera. Her daughter, Marisela Ruiz, is also a co-defendant in this case. At the time

of her arrest, Guadalupe resided with her husband, five of her children and two grandchildren.




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       Guadalupe Ruiz is in good physical health. She reports that she used marijuana as a teenager

but has no other substance abuse history. She has been convicted in municipal court on charges of

larceny, theft, driving with a suspended driver’s license and violation of city health and animal

ordinances. On October 31, 2008, police in Kansas City, Kansas arrested her for possession of

methamphetamine, and that case has been referred to the prosecutor.

        The government presented evidence that Joanna Gomez reported to authorities that

Guadalupe Ruiz’s family was engaged in drug trafficking. Guadalupe Ruiz later told Gomez not to

go into a certain bar because the family would “tear her up.” Although Guadalupe Ruiz characterizes

this interaction as a “warning” by which a confrontation was voided, the Court interprets it as a threat

to Gomez.

       4.       Danger To The Community

               Based on her prior conduct, the Court finds that Guadalupe Ruiz has not rebutted the

statutory presumption that she is a danger to the community, or presented evidence that if released

she will abandon her drug trafficking activities. Further, based on her threat to Gomez, she would

pose a risk of danger to the community.

        5.     Conclusion

               Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will protect the community from the danger of additional crimes. The

government has carried its burden of proving that pretrial detention of Guadalupe Ruiz is warranted.

D.      Francisco Ruiz-Najera

       1.       Nature And Circumstances Of The Offense

               As noted, the conspiracy count carries a minimum term of 10 years and a maximum

term of imprisonment of life, thereby triggering the rebuttable presumption for detention.


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       2.      Weight Of The Evidence

               Officer Branner testified that officers intercepted phone calls in which Secundinio

Arias-Garcia told Guadalupe Ruiz to tell her husband, Ruiz-Najera, to meet Arias-Garcia at various

gas stations to conduct drug transactions. Further, surveillance established that Ruiz-Najera

transported his wife to and from suspected narcotics meetings with other conspirators.

       As noted, on January 28, 2009, officers executed a search warrant at the residence where

Ruiz-Najera lived with his wife, their children and grandchildren. Officers seized a bulletproof vest

and detailed drug ledgers found in his daughter Marisela’s room. The weight of the evidence against

Ruiz-Najera weighs in favor of detention.

       3.      History And Characteristics Of Defendant

               Francisco Ruiz-Najera is 48 years old. He is a citizen of Mexico and a permanent

resident of the United States. He married co-defendant Guadalupe Ruiz in 1989, and they have six

children. His daughter, Marisela Ruiz, is a co-defendant in this case. He has lived in Kansas City,

Kansas since at least 1994. At the time of his arrest, he resided with his wife, five of their children

and two grandchildren.

       Ruiz-Najera is in good physical health. He reports no history of substance abuse.

       Ruiz-Najera has no reported criminal convictions. The municipal court in Kansas City,

Kansas has issued several bench warrants against Ruiz-Najera for violations including driving too

fast for conditions, driving with a suspended and revoked driver’s license and no insurance. Before

he obtained his permanent residence status, he had twelve contacts with ICE for entry without

inspection.

       4.      Danger To The Community

               Based on his prior conduct, the Court finds that Ruiz-Najera has not rebutted the


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statutory presumption that he is a danger to the community. He has not presented evidence to show

that if released he will abandon his drug trafficking activities.

       5.      Conclusion

               Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will protect the community from the danger of additional crimes. The

government has carried its burden of proving that pretrial detention of Franciso Ruiz-Najera is

warranted.

E.     Marisela Ruiz

       1.      Nature And Circumstances Of The Offense

               As noted, the conspiracy count carries a minimum term of 10 years and a maximum

term of imprisonment of life, thereby triggering the rebuttable presumption for detention.

       2.      Weight Of The Evidence

               On October 31, 2008, police stopped the car in which Marisela was riding and found

four ounces of methamphetamine in the car. The grand jury found probable cause that Marisela and

her mother, Guadalupe Ruiz, possessed the drugs with intent to distribute. On January 28, 2009,

officers executed a search warrant at the residence where defendant lived with her parents. Officers

seized detailed drug ledgers in Marisela’s room. The weight of the evidence against Marisela weighs

in favor of detention.

       3.      History And Characteristics Of Defendant

               Marisela Ruiz is 21 years old. She is a citizen of the United States and has lived in

Kansas City, Kansas all of her life. She has two children, ages 2½ and 3 weeks. She is not married.

At the time of her arrest, she lived with her children, her parents and three minor siblings.

       Marisela Ruiz is in good physical health. She began using alcohol and marijuana as a young


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teenager and reports that she last used alcohol in early 2007, and last used marijuana over a year ago.

       Marisela Ruiz has no record of any criminal convictions. On October 14, 2007, the municipal

court in Kansas City, Kansas issued a bench warrant for obstructing an officer. On October 31, 2008,

Kansas City police arrested her for possession of methamphetamine. That case has been referred to

the prosecutor.

       Agent Ditter testified that Marisela’s brother, David Ruiz, was arrested on drug charges in

2007. After David’s arrest, Marisela allegedly assaulted his ex-girl friend, Joanna Gomez,because

Gomez told authorities that David was selling drugs. No charges were filed against Marisela arising

from the alleged assault.

       4.         Danger To The Community

                  Based on her prior conduct, the Court finds that Marisela Ruiz has not rebutted the

statutory presumption that she is a danger to the community. She has not presented evidence that if

released she will abandon her drug trafficking activities.

       5.         Conclusion

                  Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will protect the community from the danger of additional crimes. The

government has carried its burden of proving that pretrial detention of Marisela Ruiz is warranted.

F.     Vincent Ray Marez

       1.         Nature And Circumstances Of The Offense

                  As noted, the conspiracy count carries a minimum term of 10 years and a maximum

term of imprisonment of life, thereby triggering the rebuttable presumption for detention.

       2.         Weight Of The Evidence

                  Officer Branner testified that agents intercepted phone calls during which Marez


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arranged purchases of narcotics from Jose Jimenez-Alvarez (a/k/a “Pelon”) in Kansas City. Phone

intercepts indicate that Marez sold methamphetamine to customers in Ottawa, Kansas. Video

surveillance indicated that Marez periodically visited Pelon’s residence in Kansas City, Kansas.

       On May 19, 2008, Sheriff’s Officers in Osage County arrested defendant for possession of

drug paraphernalia. In a recorded call to a woman named “Sue,” Marez stated that after his arrest,

he flushed five grams of methamphetamine down the jail toilet. He asked Sue for methamphetamine.

       Video surveillance on January 26, 2009, showed defendant meeting with Pelon in Kansas

City. After he left, the Ottawa police stopped him on a traffic violation. During a search after the

stop, the officers found seven grams of methamphetamine in his possession.

       3.      History And Characteristics Of Defendant

               Marez is a 24 year-old United States citizen who has lived his entire life in Franklin

County, Kansas. He recently began living with his mother after he and his girlfriend, Jessica Velez,

began to have domestic problems. He and Jessica have two children, ages 2 and 6.

       Marez is in good physical health. He reports that for the past several years up to his arrest,

he used methamphetamine, alcohol and marijuana in unidentified amounts.

       At age 16, Marez was convicted of driving under the influence of alcohol or drugs. In 2004,

Marez was convicted on felony charges of possession of stolen property and no drug stamp and a

misdemeanor charge of possession of drug paraphernalia. Currently, a misdemeanor charge of

domestic battery is pending in Franklin County, Kansas.

       4.      Danger To The Community

               Marez argues that his role in the conspiracy – a “very small scale distributor” – rebuts

the presumption of dangerousness. The government counters that Officer Branner testified that five

grams of methamphetamine (the amount of drugs which defendant flushed down the jail toilet)


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equates to 20 dosage units. The government argues that as a distributor in Ottawa during the course

of the conspiracy, defendant’s distribution practices made an impact. The government asserts that

defendant has not rebutted the statutory presumption he is a danger to the community.

       Marez admits that until his recent arrest, he used methamphetamine. Further, the record

shows that domestic battery charges are pending against him. The Court finds that defendant has not

pointed to evidence to rebut the presumption that he is a danger to the community.

       5.      Conclusion

               Based upon the evidence proffered at the hearing, the Court concludes Marez has not

presented evidence to show that if released he will abandon his drug trafficking activities. Further,

based on the charge of domestic battery of Jessica Velez, he would pose a risk of physical danger to

the community. The government has carried its burden of proving that pretrial detention is

warranted.

       IT IS THEREFORE ORDERED that the government’s Motion To Review Release Order

(Doc. #47) filed January 16, 2009 and Motion To Review Release Order (Doc. #117) December 5,

2007 be and hereby are SUSTAINED. Defendants Luis Lozano-Miranda, Hector Eduardo Garcia-

Gallardo, Guadalupe Ruiz, Francisco Ruiz-Najera, Marisela Ruiz and Vincent Marez shall remain

detained pending trial.

       Dated this 20th day of February, 2009 at Kansas City, Kansas.

                                                       s/ Kathryn H. Vratil
                                                       KATHRYN H. VRATIL
                                                       United States District Judge




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